      Case 23-90757 Document 475 Filed in TXSB on 06/27/24     Page 1 of 1
                                                      Page 1 of 1


UNITED STATES BANKRUPTCY COURT
Southern District of Texas
PDF FILE WITH AUDIO FILE ATTACHMENT

      2023-90757
      Strudel Holdings LLC and AVR AH LLC
      Hearing on [470]. 1 of 2.




      Case Type :                    bk
      Case Number :                  2023-90757
      Case Title :                   Strudel Holdings LLC and AVR AH LLC

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